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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                             4:16CR3039

      vs.
                                                             ORDER
RAHMAN M. NABAVI, and ISABEL M.
MALLAR,

                  Defendants.


      Defendants have moved to continue the trial currently set for May 8, 2017.
(Filing Nos. 69 and 70). As explained in the motions, the parties are currently
engaged in plea discussions. The motions to continue are unopposed. Based on
the showing set forth in the motions, the court finds the motions should be
granted. Accordingly,

      IT IS ORDERED:

      1)    Defendants’ motions to continue, (Filing Nos. 69 and 70), are
            granted.

      2)    As to both defendants, the trial of this case is set to commence
            before the Honorable John M. Gerrard, United States District Judge,
            in Courtroom 1, United States Courthouse, Lincoln, Nebraska, at
            9:00 a.m. on June 12, 2017, or as soon thereafter as the case may
            be called, for a duration of three (3) trial days. Jury selection will be
            held at commencement of trial.

      3)    Based upon the showing set forth in Defendant’s motion and the
            representations of counsel, the Court further finds that the ends of
            justice will be served by continuing the trial; and that the purposes
            served by continuing the trial date in this case outweigh the interest
            of Defendant and the public in a speedy trial. Accordingly, as to
            both defendants, the additional time arising as a result of the
            granting of the motion, the time between today’s date and June 12,
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          2017, shall be deemed excludable time in any computation of time
          under the requirements of the Speedy Trial Act, because although
          counsel have been duly diligent, additional time is needed to adequately
          prepare this case for trial and failing to grant additional time might result in
          a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7). Failing to
          object to this order as provided under the court’s local rules will be
          deemed a waiver of any right to later claim the time should not have
          been excluded under the Speedy Trial Act.


          May 2, 2017.
                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge




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